SETTLEMENT NOTICE

cASENUMBER.~ ,(//l/ 2 ~' C l/-OO 05 <S>~ HS`/M~Lc/@C
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CASE REPORTED SETTLED BY; £`- 356 »z /’é¢r_e, L/

 

WAS THE CASE MEDIATED OR ARBITRATED? (YES OR NO) /f/ <>

WAS THE CASE SETTLED PURSUANT T0 MEDlATIc)N 011 ARBITRATION?
(YES OR NO) 45 c.)

ARBITRATOR!MEDIATOR(S) NAME:

DATE OF NOTICE; 7// 5`_/20 / (-/

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